Case 1:23-cv-05844-JPB Dogument

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Laura Heppolette Uploaded on July 28, 2006

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& f/3.4 <) 5.8 mm
@) 0.5 320

De Flash (off, Hide EXIF
did not fire)

JFlFVersion - 1.02
X-Resolution - 144 dpi
Y-Resolution - 144 dpi
Compression - JPEG (old-style)

Image Description - OLYMPUS
DIGITAL CAMERA

Make - OLYMPUS OPTICAL CO.,LTD
Orientation - Horizontal (normal)

Software - Adobe Photoshop CS2
Windows

Date and Time (Modified) -
2006:06:26 18:49:27

YCbCr Positioning - Co-sited
ISO Speed - 320
Exif Version - 0220
1:23-cv-05844-JPB D 1-4 Filed 12/19/23 P 3 of 7
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Global Altitude - 30

IPTCDigest -
58ch5fcelicb7b6677ed96b6a4583803a

XMPToolkit - 3.1.1-111

Description - OLYMPUS DIGITAL
CAMERA

Format - image/jpeg
Color Mode - RGB

ICCProfile Name - sRGB IEC61966-
2.1

Make - OLYMPUS OPTICAL CO.,LTD
Orientation - Horizontal (normal)

Creator Tool - Adobe Photoshop
CS2 Windows

Metadata Date - 2006:06:26
18:49:27-04:00

Derived From Document ID -
uuid:SEA648CA6505DB11IABCIB6FCECO88C5E

Derived From Instance ID -
uuid:9SEA648CA6505DBI1IABCIB6FCECO88C5E

Document ID -
uuid:SFA648CA6505DBI1IABCIB6FCECO88C5E

Instance ID -
uuid:AOA648CA6505DB11ABCIB6FCECO88C5E

Camera ID - 114
Camera Type - Point and Shoot

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Brooklyn the bulldog

6 items

Tags

brooklyn bulldog dogs
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uuid:AOA648CA6505DBT1IABCIB6FCECO88C5E

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Saar
License History
Note: There is no license history before July 28, 2006
Date July 28, 2006 at 2:23:45 AM EDT

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Additional info

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V) Safety level cafe
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G) License History

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navigation navigation context

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(LJ) Personally <

ISO Speed - 320
Exif Version - 0220

Date and Time (Original) -
2006:06:22 22:30:02

Date and Time (Digitized) -
2006:06:22 22:30:02

Components Configuration - Y, Cb,
Cr, -

Exposure Bias - -0.3 EV

Max Aperture Value - 3.1
Metering Mode - Multi-segment
Light Source - Unknown
Flashpix Version - 0100

Color Space - sRGB

File Source - Digital Camera
Custom Rendered - Normal
Exposure Mode - Manual
White Balance - Auto

Digital Zoom Ratio - 1

Scene Capture Type - Standard
Gain Control - High gain up
Contrast - Normal

Saturation - Normal

Sharpness - Normal

Interop Index - R98 - DCF basic file
(SRGB)

Interop Version - 0100
Application Record Version - 2

Caption- Abstract - OLYMPUS
DIGITAL CAMERA

Copyright Flag - False
Global Angle - 30
Global Altitude - 30

IPTCDigest -
58c5fcelicb7b6677ed96b6a4583803a

XMPToolkit - 3.1.1-111

Description - OLYMPUS DIGITAL
CAMERA

Format - image/jpeg
Color Mode - RGB

ICCProfile Name - sRGB IEC61966-
21

Make - OLYMPUS OPTICAL CO.,LTD
Orientation - Horizontal (normal)

Creator Tool - Adobe Photoshop
CS2 Windows

Metadata Date - 2006:06:26
18:49:27-04:00

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Case 1:23-cv-05844-JPB Document 1-4 Filed 12/19/23 Page 6 of 7
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Instance ID -
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Creator Tool - Adobe Photoshop
CS2 Windows

Metadata Date - 2006:06:26
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G) License History
